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 1
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 5

 6    ATTORNEY FOR Defendant,
      SAY ENG
 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
                                                  ******
11    UNITED STATES OF AMERICA,                            Case No.: 1:13-CR-00136-AWI-BAM
12
                     Plaintiff,                            STIPULATION TO CONTINUE TRIAL
13                                                         CONFIRMATION AND JURY TRIAL
             v.                                            AND ORDER
14
                                                           Date: July 26, 2016
15    SAY ENG,                                             Time: 8:30 a.m.
                                                           Courtroom: 2
16                   Defendant.                            Hon. Anthony W. Ishii
17

18           IT IS HEREBY STIPULATED by the parties hereto, through their respective

19    attorneys of record, that the Trial Confirmation, presently set for June 13, 2016, at 10:00 a.m.,

20    and the Jury Trial, presently set for July 26, 2016, be vacated. The parties further stipulate

21    that a Trial Confirmation be set for August 8, 2016, at 10:00 a.m. and a Jury Trial be set for

22    August 30, 2016, at 8:30 a.m.

23           Good cause exists for this request. Counsel needs additional time for continued

24    negotiations and investigations and trial preparation.

25           Based on the above-stated findings, the ends of justice served by vacating the trial date

26    and continuing this matter for status conference as requested outweigh the interest of the public

27    and the defendant in a trial within the original date prescribed by the Speedy Trial Act.

28           For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et


                                                       1
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 1    seq., within which trial must commence, the time period of June 13, 2016, through August 30,

 2    2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it

 3    results from a continuance granted by the Court at defendant’s request on the basis of the

 4    Court's finding that the ends of justice served by taking such action outweigh the best interest

 5    of the public and the defendant in a speedy trial.

 6             So Stipulated:

 7                                               Respectfully submitted,

 8    Dated:       March 16, 2016         By: /s/Grant B. Rabenn
                                              GRANT B. RABENN
 9                                            Assistant United States Attorney
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11

12    Dated:       March 16, 2016         By: /s/Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
13                                            Attorney for SAY ENG

14

15                                                 ORDER

16

17             IT IS SO ORDERED. Good cause having been shown, the Trial Confirmation set for

18    June 13, 2016, at 10:00 a.m. and the Jury Trial set for July 26, 2016, at 8:30 a.m. are hereby

19    vacated. Trial Confirmation is continued to August 8, 2016, at 10:00 a.m. and the Jury Trial is

20    continued to August 30, 2016, at 8:30 a.m. Additionally, time shall be excluded by stipulation

21    from the parties and pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv).

22    NO FURTHER CONTINUANCES WILL BE GRANTED.

23

24    IT IS SO ORDERED.

25    Dated:    March 16, 2016
                                                   SENIOR DISTRICT JUDGE
26

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